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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                     Plaintiffs,

         v.                                                        Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                     Defendants.


       UNOPPOSED MOTION FOR ENTRY OF PARTIAL FINAL JUDGMENT
                     AND STAY OF PROCEEDINGS

        Pursuant to Federal Rule of Civil Procedure 54(b), Defendants respectfully request that the

Court enter final judgment on Count Six of Plaintiffs’ Second Amended Complaint, ECF No. 131

¶¶ 107–11, and stay proceedings as to Plaintiffs’ remaining claims. Defendants have conferred with

Plaintiffs, who do not oppose this motion. In support of this motion, Defendants state as follows:

        1.      Rule 54(b) provides that “[w]hen an action presents more than one claim for relief—

whether as a claim, counterclaim, crossclaim, or third-party claim—or when multiple parties are

involved, the court may direct entry of a final judgment as to one or more, but fewer than all, claims

or parties only if the court expressly determines that there is no just reason for delay.”

        2.      On November 15, 2022, the Court granted Plaintiffs’ motion for partial summary

judgment on Count Six of their Second Amended Complaint. See Huisha-Huisha v. Mayorkas, No. CV

21-100 (EGS), 2022 WL 16948610, at *16 (D.D.C. Nov. 15, 2022). The Court entered an order (the

“November 15 Order”) “vacat[ing] and set[ting] aside the Title 42 policy, consisting of the regulation

at 42 C.F.R. § 71.40 and all orders and decision memos issued by” CDC and “permanently enjoin[ing]

Defendants and their agents from applying the Title 42 policy with respect to Plaintiff Class
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Members.” ECF No. 164. On November 16, 2022, the Court granted the government’s unopposed

motion to stay the order for five weeks until December 20, 2022 to allow DHS time to prepare to

transition to immigration processing under Title 8 of the U.S. Code. Order Granting Stay, Huisha-

Huisha v. Mayorkas, No. CV 21-100 (EGS) (D.D.C. Nov. 16, 2022), Minute Order.

        3.      In its memorandum opinion, the Court concluded that “because this action can be

disposed of based on Plaintiffs’ arbitrary and capricious claim, the Court finds that vacatur is not

premature at this stage.” 2022 WL 16948610, at *14. The Court thus “vacate[d] the Title 42 policy.”

Id. at *15. Accordingly, it appears that the Court has already concluded that there is “no just reason

for delay[ing]” the entry of final judgment on Count Six. Fed. R. Civ. P. 54(b).

        4.      The D.C. Circuit has held, however, that in order for a Rule 54(b) judgment to be

effective, the district court must make “(1) an express determination that there is no just reason for

delay and (2) an express direction for the entry of judgment.” Blackman v. D.C., 456 F.3d 167, 175

(D.C. Cir. 2006); see also 10 Moore’s Federal Practice - Civil § 54.24 (2022) (“In order for a Rule 54(b)

judgment to be effective, the district court must make an express direction for the entry of

judgment.”). Defendants understand that the permanent injunction constitutes a “judgment” under

Rule 54(a). See also 28 U.S.C. § 1292(a). Defendants also believe the Court intended the portion of

the order vacating and setting aside the regulation at 42 C.F.R. § 71.40 and accompanying CDC orders

to be final. Consistent with that understanding, Defendants request that the Court enter an order

expressly determining that there is no just reason for delay and expressly directing the entry of

judgment under Rule 54(b).

        5.      Defendants also request that the case be stayed as to Plaintiffs’ remaining claims

pending further developments. Defendants propose that the parties submit a joint status report 60

days from the issuance of the Court’s order granting this motion. A proposed order is attached.




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                                        Respectfully submitted,

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